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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
  DMP:ICR/SKW                                       271 Cadman Plaza East
  F. #2015R01171                                    Brooklyn, New York 11201



                                                    March 3, 2022

  By ECF and Email

  Kaveh Lotfolah Afrasiabi
  Defendant, Pro Se
  c/o Deirdre D. von Dornum, Esq.
  Standby Counsel
  Federal Defenders of New York, Inc.
  One Pierrepont Plaza, 16th Floor
  Brooklyn, New York 11201

                Re:     United States v. Kaveh Lotfolah Afrasiabi
                        Criminal Docket No. 21-46 (ERK)

  Dear Dr. Afrasiabi:

                  The government writes to notify you that the government has learned that you
  violated the terms of the August 12, 2021 Protective Order (the “Protective Order,” ECF No.
  103) entered by the Court in the above-captioned matter by sharing with unauthorized
  persons discovery materials the government produced to you subject to the Protective Order
  (“Discovery Material”). Because the information known to the government at this time
  indicates that the Discovery Material that you shared consisted only of correspondence that
  you previously sent or received, the government is not seeking relief from the Court or to
  exercise its right to require the return of all Discovery Material provided to you. The
  government, however, takes this opportunity to remind you of the requirements of the
  Protective Order and the potential consequences should you continue to violate the Protective
  Order, and to request that you comply with the notification requirements of Paragraph 19 of
  the Protective Order.

                 On February 23, 2022, a representative of a university (“University-1”)
  contacted the Federal Bureau of Investigation (“FBI”) to report that you sent harassing
  emails to several University-1 faculty members. University-1 voluntarily provided some of
  those emails to the FBI. Attached to some of the emails that you sent to the University-1
  faculty were documents that had been disclosed to you in the government’s discovery
  production under cover of letter dated January 19, 2022. (See ECF No. 121.) The
  government’s January 19, 2022 letter notified you that the materials were being produced
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  “subject to the terms of the Court’s August 12, 2021 Protective Order.” (Id.) The materials
  attached to the email that you sent to University-1 faculty were clearly stamped “SUBJECT
  TO PROTECTIVE ORDER” with the Bates numbers assigned to those documents in the
  government’s January 19, 2022 production.

                 Your disclosure of those materials without prior authorization from the
  government or the Court was a violation of the Protective Order. The Protective Order
  provides that you may not “disclose, disseminate or discuss Discovery Material to or with
  any other individual, entity, or organization unless such further disclosure is authorized in
  advance by this Protective Order, by the government in writing, or by Order of the Court.”
  (Protective Order ¶ 3.) Discovery Material includes “all materials and information disclosed
  or produced by the government to the Defendant and Defense Counsel in the above-
  captioned case.” (Id. ¶ 2(c).)

                 While the Discovery Material that you distributed to the University-1 faculty
  consisted of your own prior communications, the Discovery Material disclosed to you in this
  case includes sensitive non-public information, including: documents of various agencies of
  the United States Government; sensitive non-public personal, medical, and financial
  information of uncharged individuals; and information involving sensitive non-public law
  enforcement investigative techniques. The Protective Order is in place to protect those
  important interests, and under its terms, the Discovery Material may not be distributed unless
  authorized by the Protective Order. (See id. ¶ 3.)

                 Due to this violation of the Protective Order, the government is concerned that
  you may have provided Discovery Material to other unauthorized recipients which has not
  yet been brought to the government’s attention. Paragraph 19 of the Protective Order
  provides that “[i]n the event that the Defendant, Defense Counsel, or any Authorized
  Recipient becomes aware that any term of this Protective Order has been violated or may
  have been violated, the Defendant, Defense Counsel, or Authorized Recipient shall
  immediately advise the government and the Court of the nature and circumstances of such
  violation.” Accordingly, the government reminds you of your affirmative obligation to
  disclose any violation of the Protective Order and requests that you advise the government
  within seven days of the nature and circumstances of any additional violations so that the
  government and the Court may take such further action as may be appropriate.




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                  Should you continue to violate the Protective Order, the government will take
  necessary actions to protect the Discovery Material produced in this case. Under Paragraph
  20 of the Protective Order, “[u]pon determination by the government that Discovery Material
  has been accessed or obtained by a person who is not an Authorized Recipient, the
  government may require the Defendant, Defense Counsel or Authorized Recipient from
  whom Discovery Material was accessed or obtained to immediately return to the government
  all Discovery Material and copies of Discovery Material.” Further, should the Court
  determine that there has been a violation of the Protective Order, the “the Court may take
  such action as it deems appropriate.” (Id. ¶ 20.) Finally, because the Protective Order is an
  order of the Court, we remind you that you are subject “to punish[ment] for contempt of
  court [for] all violations of this Protective Order.” (Id. ¶ 21.)

                                                    Very truly yours,

                                                    BREON PEACE
                                                    United States Attorney

                                             By:       /s/
                                                    Ian C. Richardson
                                                    Sara K. Winik
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000

  cc:    Deirdre von Dornum, Esq. (standby counsel)
         Clerk of Court (ERK) (by ECF)




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